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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case:2:18-cr-20662
Judge: Cox, Sean F.

THE UNITED STATES OF AMERICA, MJ: Whalen, R. Steven
Filed: 10-02-2018 At 01:42 PM
v. INDI USA V MAURICE TURNER (LG)
MAURICE TURNER,
a.k.a., Jermaine Turner, VIOLATIONS:
18 U.S.C. § 922(g)(1)
Defendant. 18 U.S.C. § 922(0)

21 U.S.C. § 841(a)(1)
21 U.S.C. § 856 (a)(1)
18 U.S.C. § 924(c)

INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE
(18 U.S.C. § 922(g)(1) -- Felon in Possession of a Firearm)

On or about September 12, 2018, in the Eastern District of Michigan,
Southern Division, the defendant, MAURICE TURNER, being a person convicted
of a felony offense, did knowingly and unlawfully possess firearms, to wit:

e one loaded BSA Glock 27, fully automatic .40 caliber handgun,
e one loaded FN PS90 rifle,

e one loaded AMT, semi-automatic .45 caliber pistol,

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which were manufactured outside the State of Michigan, thereby traveling in
interstate and foreign commerce to reach this jurisdiction, in violation of Title 18,

United States Code, Section 922(g)(1).

COUNT TWO
(18 USC, §922(0) — Illegal Possession of a Machine Gun)

On or about September 12, 2018, in the Eastern District of Michigan,
Southern Division, the defendant, MAURICE TURNER, did knowingly and
unlawfully possess a machine gun, that is, a loaded BSA Glock 27, fully automatic
40 caliber handgun, in violation of Title 18, United States Code, Sections 922(o)

and 924(a)(2).

COUNT THREE

(21 U.S.C. $ 841 (a)(1) — Possession With Intent to Distribute
Controlled Substances)

On or about September 12, 2018, in the Eastern District of Michigan, Southern
Division, the defendant, MAURICE TURNER, did knowingly and unlawfully
possess with the intent to distribute a mixture and substance containing a detectable
amount of heroin, a Schedule [ controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1).

 
   
  
 

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COUNT FOUR

(21 U.S.C. § 841 (a)(1} — Possession With Intent to Distribute
Controlled Substances)

On or about September 12, 2018, in the Eastern District of Michigan, Southern
Division, the defendant, MAURICE TURNER, did knowingly and unlawfully
possess with the intent to distribute a mixture and substance containing a detectable
amount of cocaine, a Schedule JI controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

COUNT FIVE
(21 U.S.C. § 856(a)(1) — Using and Maintaining a Drug Premises)

On or about September 12, 2018, in the Eastern District of Michigan, Southern
Division, the defendant, MAURICE TURNER, did knowingly and unlawfully use
and maintain a place, to wit: a residence known as 12048 Engleside, Detroit,
Michigan, for the purpose of manufacturing and distributing controlled substances,

in violation of Title 21, United States Code, Section 856(a)(1).
 

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COUNT SIX

(18 U.S.C. § 924(c) — Possession of a Firearm in Furtherance of a Drug
Trafficking Crime)

On or about September 12, 2018, in the Eastern District of Michigan, Southern
Division, the defendant, MAURICE TURNER, did knowingly and unlawfully
possess at least one firearm, as alleged in Count One of this Indictment. This firearm
was possessed in furtherance of a drug trafficking crime for which MAURICE
TURNER may be prosecuted in a court of the United States, that is, the crime of
possession with intent to distribute controlled substances and maintaining a drug
involved premises, as alleged in Counts Three, Four and Five of this Indictment,
which constitutes a violation of Title 18, United States Code, Sections 924(c)(1)(A)

and (BY(ii).

FORFEITURE ALLEGATIONS
18 U.S.C. § 924(d), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c)
Criminal Forfeiture
The allegations contained in Counts One through Six of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Section 924(d), Title 21 United States

Code, Section 853, and Title 28 United States Code, Section 2461 (c).

 
   

 

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Upon conviction of any of the offenses set forth in Counts One, Two and Six
of this Indictment, the defendant shall forfeit to the United States, pursuant to Title
18, United States Code, Section 924(d), and Title 28 United States Code, Section
2461(c), any firearm and ammunition involved in or used in the knowing
commission of the offense(s).

Upon conviction of any of the controlled substances offenses alleged in
Counts Three through Five of this Indictment, defendant shall forfeit to the United
States, pursuant to Title 21 United States Code, Section 853, any property
constituting, or derived from, proceeds obtained, directly or indirectly, as a result of
the said violation and any property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of the named violations.

If any of the property described in the paragraphs above as being forfeitable
under Title 21, United States Code, Section 853, as a result of any act or omission
of the defendant- -
cannot be located upon the exercise of due diligence;
has been transferred to, sold to, or deposited with a third party;
has been placed beyond the jurisdiction of this Court;
has been substantially diminished in value; or

has been commingled with other property that cannot be divided
without difficulty;

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the United States of America, pursuant to Title 21, United States Code, Section

 
 

853(p), intends to seek forfeiture of all other property of defendant up to the value

of the above described forfeitable property.

MATTHEW SCHNEIDER
United States Attorney

/s/ Matthew Roth

MATTHEW ROTH

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Assistant United States Attorney
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/s/ Eaton Brown

/s/ Lisandra Fernandez

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Dated: October 2, 2018

 

   

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THIS IS A TRUE BILL.

/s/ Grand Jury Foreperson
GRAND JURY FOREPERSON
 

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United States District Court Criminal Case Cc ,
Eastern District of Michigan vee ee R. Steven
led: 10-02-2018 At 01:42 PM -

INDI USA V MAURICE TURNER (LG)

 

 

 

NOTE: It is the responsibillty of the Assistant U.S. Attorney signing this form to cc

 

 

 

 

 

 

 

 

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b}(4)': Judge Assigned:
emer
Llyes No AUSA’s initials TAY?
eee
Case Title: USAv. Maurice Turner (a/k/a Jermaine Turner)
County where offense occurred: VVayne .
t
Check One: [X] Felony | ]Misdemeanor LlPetty
Indictment/ Information -- no prior complaint.
¥_Indictment/ Information —- based upon prior complaint [Case number: 18-MJ-30489 ]
Indictment/ Information -—- based upon LCrR 57.10 (d} {Complete Superseding section below}.

Superseding Case Information

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_jInvolves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

 

 

 

 

Defendant name Charges Prior Complaint (if applicable)
Please take notice that the belo ZL Assistant Uni s Attor, is the attorney of record for
the above captioned case.
October 2, 2018 Uff /
Date Eaton P. Brown _

Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, M! 48226-3277

Phone: 313-226-9184

Fax. 313-226-3413

E-Mail address: Eaton.Brown@usdoj.gov
Attorney Bar #:; P66003

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16
